Case 2:90-cv-00520-KJM-SCR   Document 3434-7   Filed 12/23/08   Page 1 of 14




                         EXHIBIT R
Case 2:90-cv-00520-KJM-SCR        Document 3434-7      Filed 12/23/08   Page 2 of 14

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                                 UNITED STATES DISTRICT COURT
13
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
14
                        AND THE NORTHERN DISTRICT o.F CALIFORNIA
15
             UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
16
                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
17
     RALPH COLEMAN, et aI., .                         No. 2:90-CV-00520 LKK JFM P
18
                   Plaintiffs,                        THREE-JUDGE COURT
19
           v.
20
     ARNOLD SCHWARZENEGGER, et aI.,
21
                   Defendants.
22
     RALPH COLEMAN, et aI.,                           No. C-01-1351 TEH
23
                   Plaintiffs,                        THREE-JUDGE COURT
14
           v.                                         DEFENDANT CATE'S
25                                                    SUPPLEMENTAL RESPONSES TO
     ARNOLD SCHWARZENEGGER, et aI.,                   PLAINTIFF PLATA"S FIRST SET OF
26                                                    INTERROGATORIES TO FORMER
                Defendants.                           DEFENDANT TILTON
27 I I - - - - - - - - _ -                    ----J


28

     DEF. CATE'S SUPP. RESP. TO PLS.' FIRST SET OF INTERROGATORIES
     CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM                                        1578116.2
    Case 2:90-cv-00520-KJM-SCR          Document 3434-7       Filed 12/23/08     Page 3 of 14


    1    PROPOUNDING PARTIES:                Plaintiffs Marciano Plata, et al.

    2    RESPONDING PARTY:                   Defendant Secretary of the California Department of

    3                                        Corrections and Rehabilitation

    4    SET NUMBER:                        ·One

    5                               INTRODUCTION AND DEFINITIONS

    6           In construing these discovery responses, the following definitions shall apply:

    7           1.       "PLAINTIFFS" shall mean class representatives Marciano Plata, et. aI., the

    8    named PLAINTIFFS in the action Plata v. SchwarZenegger, Case No. C 01 1351 TEH

    9    (N.D. Cal.) (Plata).

    10          2.       "DEFENDANT" shall mean Matthew Cate, a named defendant in Plata, in

    11   his official capacity on behalf of the California Department of Corrections and

    12   Rehabilitation.

    13          3.       "DEFENDANTS" shall mean each of the named DEFENDANTS in the

    14   Plata action.

    15          4.       "PROCEEDING" shall mean the three-judge panel proceeding convened

    16   unoer 28 U.S.C. Section 2284 in the cases of Coleman v. Schwarzenegger, Case No.

    17   90-0520 LKK JFM (ED. Cal.) (Coleman) and Plata.

    18           5.      DEFENDANTS have not completed their investigation of the facts relating

    19   to this case, have not completed their discovery in this action, and have not completed

    20   their preparation for trial. To the extent that DEFENDANTS learn that in some material

    21   respect that a response below is in any way incomplete or incorrect, and if the additional

    22   or corrective information has not otherwise been made known to PLAINTIFFS during the

    23    discovery process or in writing, DEFENDANTS will. supplement or correct the response,

    24    as required by the Federal RUles of Civil Procedure.

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          DEF. CATE'S SUPP. RESP. TO PLS: FIRSTSETOF INTERROGATORIES
                                                                                                1578116.2
          CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
        Case 2:90-cv-00520-KJM-SCR           Document 3434-7      Filed 12/23/08    Page 4 of 14


        1     prisoners. That Definition mischaracterizes the role of DMH as a provider of housing for

        2     incarcerated inmates. DMH's true role is defined by California Penal Code section 2684

        3     as a provider of inpatient mental health treatment to CDCR inmate-patients. Further,

        4     that definition erroneously assumes the Governor's Emergency Proclamation of October

        5     4, 2006 addressed DMH as a provider of housing for incarcerated inmates.

        6     DEFENDANT will interpret the terms "CDCR prison" and "prison" for the purposes of this

        7     request to mean those prisons within the jurisdiction of the California Department of

        8     Corrections and Rehabilitation, pursuant to California Penal Code section 5054. Further,

        9     DEFENDANTS object to Plaintiffs' definition of a CDCR prison to include "any planned

        10    redesigns of, construction to, or renovations of such facilities, and any new such facilities

        11    contemplated by AS 900" as an inaccurate statement of the scope of AS 900, vague,

        12    and calling for speculation.

        13           2.       DEFENDANT objects that the discovery seeks information that is neither

        14    relevant to PLAINTIFFS' claims in this PROCEEDING nor reasonably calculated to lead
(   -

        15    to the discovery of admissible evidence.

        16           3.       DEFENDANT objects that the discovery seeks information equally

        17     available to PLAINTIFFS, and is thus overbroad and unduly burdensome. In

        18     accordance with the Coleman and Plata remedial orders, PLAINTIFFS receive monthly

        19     document productions and other discovery from DEFENDANT and the Receiver

        20     appointed in Plata.

        21            4.      Given the shortened time for DEFENDANT'S responses to this discovery,

        22     DEFENDANT hereby reserves the right to supplement these responses at a later date,

        23     including after the issuance and/or receipt of expert reports and witness declarations in

        24     this matter.

        25            5. '    DEFENDANT objects to the interrogatories to the extent that they seek

        26     information available to PLAINTIFFS through public sources or records, and on the

        27'    grounds that they subject DEFENDANT to unreasonable and undue annoyance,

        28     oppression, burden, and expense. DEFENDANT further objects to the interrogatories to
                                                     -2-
               DEF. CATE'S SUPP. RESP. TO PLS.' FIRST SET OF INTERROGATORIES
                                                                                                    1578116.2
               CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
     Case 2:90-cv-00520-KJM-SCR          Document 3434-7       Filed 12/23/08     Page 5 of 14


     1    the extent that such interrogatories are unduly burdensome because much or all of the

     2    information requested is in the possession of PLAINTIFFS, has been filed with the Court,

     3    or is otherwise equally or more available to PLAINTIFFS than to DEFENDANT.

     4              6.    DEFENDANT objects that the discovery seeks information outside of

     5    DEFENDANT'S control. To the extent the discovery seeks information known only to the

     6    Receiver appointed in Plata, PLAINTIFFS should direct said discovery to the Receiver

     7    and not DEFENDANT.

     8              7.    With regard to each interrogatory, DEFENDANT reserves the right,

     9    notwithstanding these answers and responses, to employ at trial or in any pretrial

     10   proceeding herein information. subsequently obtained or discovered, information the

     11   materiality of which is not presently ascertained, or information DEFENDANT does not

     12   regard as coming within the scope of the interrogatories as DEFENDANT understands

     13   them.

     14             8.     These responses are made solely for the purpose of this action. Each
(.
     15    answer is subject to all objections to competence, relevance, materiality, propriety,

     16    admissibility, privacy, privilege,
                                   .
                                              and any and all other objections that would. require

     17    exclusion of any statement contained herein if any such Interrogatories were asked of, or

     18    any statement contained herein were made by, a witness present and testifying in court,

     19    all of which objections and grounds are reserved and may be interposed at the time of

     20    trial.

     21                       DEFENDANT CATE'SSUPPLEMENTAL RESPONSES

     22    INTERROGATORY NO.1 0:

     23              IDENTIFY each action, program, policy or procedure that YOU have adopted

     24    since October 2006 that YOU contend will limit or reduce the number of PLA TA CLASS

     25    MEMBERS housed in CDCR PRISONS.

     26    PREVIOUS RESPONSE TO INTERROGATORY NO. 10:

     27              In addition to the General Objections stated above, which are incorporated herein,

     28    DEFENDANTS object to this interrogatory on the grounds that it is vague and
                                                        - 3-
          . DEF. CATE'S SUPP. RESP. TO PLS.' FIRST SET OF INTERROGATORIES
                                                                                                     1578116.2
            CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
    Case 2:90-cv-00520-KJM-SCR        Document 3434-7       Filed 12/23/08    Page 6 of 14


    1    ambiguous as to the terms "action," "program," "policy," "procedure," "limit," and

    2    "reduce." In addition, DEFENDANTS object to this interrogatory to the extent it seeks

    3    information covered by the attorney-client privilege or work-product doctrine. Finally,

    4    DEFENDANTS object that this interrogatory seeks information directed at phase two

    5    issues as bifurcated by this Court. Subject to and without waiving the foregoing

    6    objections, DEFENDANTS respond as follows:

    7           The State is working on many fronts to reduce overcrowding in California's

     8   Prisons. The Governor and the Legislature recently approved a historic, bipartisan plan

     9   to reduce prison overcrowding, increase rehabilitation programs, and provide more beds

    10   for all inmates, including those requiring medical care. Assembly Bill 900, signed in May

    11   2007, creates a comprehensive plan to immediately relieve overcrowding by providing

    12   for additional out-of-state inmate transfers (CDCR anticipates transferring 8,000 inmates

    13   by March 2009, to date approximately 1,722 inmates have been transferred), as well as

    14   the construction of 40,000 prison beds including much-needed medical beds,in addition

    15   to approximately 13,000 new jail beds. AB 900 also provides for new rehabilitation

    16   programs and re-entry facilities to ease parolees' transition back into California

    17   . communities, thereby reducing recidivism, relieving prison overcrowding, and ensuring

    18    public safety. AB 900's comprehensive plan and CDCR's parole reforms effectively

    19    address prison overcrowding without encouraging or causing the early release of

    20    dangerous criminals.

    21           The Governor also established two strike teams -- one for construction and

    22    another for rehabilitation -- to expedite the implementation of AB 900's mandates,

    23    including construction and the improvement of programs for rehabilitation, substance

    24    abuse, education, and job training. These strike teams will report to the Governor's

    25    Cabinet to ensure that AB 900's reforms are successful and swift. CDCR is also

    26    immediately implementing administrative parole changes that reward successful

    27    rehabilitation, which will further reduce overcrowding. In short, the Governor is
(
    28    committed not only to prison reform, but to the long-term management efforts that are
                                                     -4-
          DEF. CATE'S SUPP. RESP. TO PLS: FIRST SET OF INTERROGATORIES
                                                                                               1578116.2
          CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
    Case 2:90-cv-00520-KJM-SCR         Document 3434-7        Filed 12/23/08    Page 7 of 14


    1    needed to ensure that the reforms are successful.

    2            Phase I of AS 900 provides for 7,484 in-fill beds at existing enumerated prisons,

    3    plus an additional 4,516 in-fill beds once site assessments have been done for other

    4    facilities, for a total of 12,000 Phase lin-fill beds. AS 900 specifies that the purpose of

    5    the infill beds is to replace the non-traditional beds currently in use. Phase I also

    6    provides for 6,000 re-entry beds and 6,000 medical, dental, and mental health beds.

    7    The construction of all Phase I beds will total 24,000 beds. Phase II of AS 900 provides

    8    for an additional 4,000 in-fill beds; 2,000 medical, dental, and mental health beds; and

    9    10,000 re-entry beds. The construction of all Phase \I beds will total 6,000 beds.

    10   However, AS 900 specifies that funds for Phase \I construction shall not be released

    11   unless specific enumerated progress in construction, rehabilitation programs,

    12   management planning, and parole review has been confirmed by a panel consisting of

    13   the State Auditor, the Inspector General and an appointee of the Judicial Council of

    14   California. AS 900 also provides for construction of approximately 13,000 county jail

    15   beds.

    16           AS 900 ties prison bed construction to rehabilitation, requiring that each new bed

    17   have appropriate programming for inmates, including education, vocational programs,

    18    substance abuse treatment programs, employment programs, and pre-release planning.

    19    These programs will address overcrowding by reducing the recidivism rate.

    20           AS 900 also requires CDCR to develop and implement, by January 15, 2008, a

    21    plan to address management deficiencies within the department. Among other things,

    22    the plan must address (1) filling vacancies in management positions, (2) improving

    23    accountability, (3) standardizing processes to improve man?gement, (4) improving

    24    communications within the Department, and (5) developing and implementing more

    25    comprehensive plans for management of the prison and parole populations. AS 900

    26    authorizes COeR to contract with outside management experts to assist in identifying

    27    and addressing deficiencies.
(
    28            The management assessment and plan required by AS 900 is not Defendants'
                                                       -5-
          DEF. CATE'S SUPP. RESP. TO PLS: FIRST SET OF INTERROGATORIES
          CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM                                             1578116.2
      Case 2:90-cv-00520-KJM-SCR         Document 3434-7       Filed 12/23/08     Page 8 of 14


      1    only tool for addressing management and administrative concerns. The Governor has

      2    already established two expert strike teams - one for facilities and one for

      3    rehabilitation -composed of numerous experts from universities, community

      4    organizations, and state government to ensure that California's prisons are managed

      5    effectively and that bed construction and rehabilitation programs are implemented

      6    expeditiously.

      7           The Facilities Construction Strike Team will restoreCOCR's. major project

      8    management capability and will work to expedite in-fill, re-entry, medical/dental/mental-

      9    health, and jail beds authorized by AS 900. The Facilities Construction Strike Team will

      10   (1) consider al1 available options for housing inmates and improving inmate housing, (2)

      11   evaluate alternative construction methods, (3) work to overcome impediments to

      12   expedited construction, and (4) work with local communities impacted by prison facilities.

      13          At the same time, the Rehabilitation Strike Team will provide expertise on creating

      14   and expediting the implementation of rehabilitation programs. Such programs are

      15   integral to increasing successful community re-entry and reducing recidivism. The

      16   Rehabilitation· Strike Team wil1 be responsible for (1) assessing existing COCR

      17   rehabilitation programs and space, (2) designing an integrated rehabilitation services

      18   delivery plan for inmates and parolees which includes substance abuse treatment,

      19    education, job training, counseling, and life skills, (3) developing a plan for inmate job

      20   training, (4) quickly implementing inmate intake and prerelease needs assessment tools,

      21    (5) developing incentives for program participation~ (6) developing a plan to immediately

      22    reduce the number of lockdown days so that inmates can participate in rehabilitative

      23    programming; and (7) developing the $50 million in rehabilitation and treatment funds

      24    that are authorized by AS 900. The Rehabilitation Strike Team expects to reduce

      25    recidivism by 10%, which would eliminate 8,100 prison returns in a single year.

      26           The construction of 16,000 in-fil1 beds will provide additional capacity at existing

      27    prisons in a way that ensures proper facilities, support, and services. Creating in-fill
('-
      28    beds will not require the construction of new prisons; rather, there will be construction of
                                                        -6-
            DEF. CATE'S SUPP. RESP. TO PLS: FIRST SET OF INTERROGATORIES
                                                                                                  1578116.2
            CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
Case 2:90-cv-00520-KJM-SCR          Document 3434-7         Filed 12/23/08     Page 9 of 14


1    new facilities at existing prisons. In-fill beds, like the out-of-state transfer of inmates, will

2    eliminate non-traditional beds and provide better care and services for inmates.

3           The Facilities Construction Strike Team will expedite construction. As required by

4    AS 900, these beds will be constructed to fully integrate rehabilitative programs into the

5    new facilities. The Facilities Construction Strike Team will work to finish construction as

6    .quickly as possible, but at a minimum it is expected that construction of the 12,000

 7   Phase I in-fill beds will be completed in 2009. As new in-fill beds are constructed, AS

 8   900 mandates the reduction in a proportionate number of non-traditional beds until non-
 9   traditional bed use is entirely eliminated.

10           AS 900 also provides for the creation of 16,000 re-entry beds. The focused of the
11   reentry beds is to provide rehabilitation services and prepare inmates for re-entry into

12    society. These beds will be located in small, secured facilities (500 inmates maximum
13    per facility) operated by COCR. The facilities will be located close to established

14    communities to better serve their rehabilitative and re-entry mission. The Facilities
15    Construction Strike Team will expedite the construction of 6,000 Phase I re-entry beds.

16           AS 900 states that a total of 8,000 medical/mental health beds will be created.

17    The Facilities Construction Strike Team will expedite construction of these beds to bring
18    them on line as soon as possible. Defendants are coordinating construction of medical
19    and mental health beds coordination with the Receiver.

20           Parole reform strategies will also playa large role in the reduction of prison
21    overcrowding. In tandem with the implementation of AS 900, COCR has launched a set

22    of parole changes to reward successful rehabilitation. COCR is actively pursuing
23    strategies to release parolees from their statutory parole periods as soon as is

24    appropriate and anticipates discharging between 2,000 and 4,000 additional parolees

25    from parole in the next twelve months.

26            Sy discharging more parolees from supervision, COCR expects to experience a

27    reduction in the number of parolees returned to custody for various parole violations.

28    . Further, COCR implemented a risk and needs assessment tool in each of the 33
                                                     -7-
      DEF. CATE'S SUPP. RESP. TO PLS.' FIRST SET OF INTERROGATORIES
                                                                                                1578116.2
      CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
Case 2:90-cv-00520-KJM-SCR          Document 3434-7        Filed 12/23/08    Page 10 of 14


 1     institutions: the Correctional Offender Management Profiling for Alternative Sanctions

 2     (COMPAS). The predictive validity of COMPAS in terms of its ability to effectively

 3     identify key risk and needs factors in the parole population is currently being studied.

 4     Additionally, CDCR has undertaken extensive research into the use and effectiveness of

 5     a parole-violation decision-making matrix. This tool has been shown to improve

 6     organizational decision-making consistency, aswell as help to establish a culture of

 7     determining sanctions based on policy driven rationale and then tailoring the sanction to

 8     the specific risk and needs of the parolee. When supported by evidence-based

 9     programs, such as COMPAS, this type of matrix has been proven to playa meaningful

10     role in the overall reduction of recidivism rates among the parolee populati(;m. CDCR

11     anticipates that a decision-making matrix will be ready for a pilot deployment by the end

12     of 2007. Once implemented, these tools will result in even more discharges from parole.

13     SUPPLEMENTAL INTERROGATORY RESPONSE NO.1 0:

14             DEFENDANT objects to this interrogatory to the extent it seeks information

15      protected from disclosure by the attorney-client privilege, deliberative process privilege,

16      and official information privilege. DEFENDANT further objects to this interrogatory on

17      the grounds that it is overbroad and unduly burdensome as to location in that it seeks

18      information regarding all "CDCR Prisons," and therefore seeks information that is

 19     irrelevant to the claim or defense of any party, and is not reasonably calculated to lead to

20      the discovery of admissible evidence.

 21            DEFENDANT further objects to this interrogatory to the extent that information

 22     related to that requested in this interrogatory has previously been provided to

 23     PLAINTIFFS in the course of this PROCEEDING.

 24            DEFENDANT further objects to this interrogatory on the grounds that it is

 25     overbroad as to time and includes periods of time that are irrelevant to the claim or

 26     defense of any party, and not reasonably calculated to lead to the discovery of

 27     admissible evidence.

- 28           DEFENDANT further objects to this interrogatory on the- grounds that it is vague
                                                     -8-
        DEF. CATE'S SUPP. RESP. TO PLS.' FIRST SET OF INTERROGATORIES
                                                                                              1578116.2
        CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
Case 2:90-cv-00520-KJM-SCR            Document 3434-7    Filed 12/23/08    Page 11 of 14


 1     and ambiguous as to the meaning of the words "action, program, policy, or procedure,"

 2     "adopted," "limit or reduce," and "housed."

 3           Without waiving the foregoing and previously-asserted objections,.DEFENDANT

 4     responds as follows: The following plans have been prepared and/or adopted since the

 5     initial response to this interrogatory: The Governor's Rehabilitation Strike Team

 6     December 2007 report made numerous recommendations intended to reduce the inmate.

 7     population in CDGR. The C-ROB Report issued on July 15, 2008, outlines the measures

 8     that CDCR has taken to implement programs intended to reduce the inmate population.

 9     CDCR has made significant progress in the area of risk and needs assessment. The

10     COMPAS assessment instrument has been implemented for both male and female

11     parolees. CDCR is also utilizing assessments to determine the number of inmates who

12     are high risk to reoffend for the purposes of identifying future inmate programming

13     resource needs. In February 2008, CDCR began using COMPAS in classification at

14     Reception· Centers to assign inmates to specific institutions based on programming

15     offered at those specific institutions. CDCR is also implementing the Inmate Treatment

16     and Prison-to-Employment Plan as required by Assembly Bill 900, and is intended to

17     reduce the population. CDCR over the past year has made some significant changes in

 18,    parole policy. These changes in parole policy are designed to reduce the inmate

 19     population in CDCR.

 20     INTERROGATORY NO. 11:

 21            For each such action, program, policy or procedure IDENTIFIED in YOUR

 22     response to interrogatory number thirteen, state the time frame for implementation, the

 23     size of the anticipated population reduction, and the date by which the population

 24     reduction will be effected.

 25     PREVIOUS RESPONSE TO INTERROGATORY NO. 11:

 26            In addition to the General Objections stated above, which are incorporated herein,

 27     DEFENDANTS object to this interrogatory on the grounds that it is vague and

 28     ambiguous as to the terms "program," "policy," "procedure," and "interrogatory number
                                                 -9-
        DEF. CATE'S SUPP. RESP. TO PLS.' FIRST SET OF INTERROGATORIES
                                                                                             1578116.2
        CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
    Case 2:90-cv-00520-KJM-SCR        Document 3434-7        Filed 12/23/08   Page 12 of 14


     1    to the discovery of admissible evidence.

     2           DEFENDANT further objects to this interrogatory to the extent that information

     3    related to that requested in this interrogatory has previously been provided to

     4 . PLAINTIFFS in the course of this PROCEEDING.

     5          .DEFENDANT further objects to this interrogatory on the grounds that it is

     6    overbroad as to time and includes periods of time that are irrelevant to the claim or

     7    defense of any party, and not reasonably calculated to lead to the discovery of

     8    admissible evidence.

     9           DEFENDANT further objects to this interrogatory on the grounds that it is vague

    10    and ambiguous as to the meaning of the words "Iockdowns," "partiallockdowns,"

    11    "affected" and "housing units."

    12           Without waiving the foregoing and previously-asserted objections, DEFENDANT

    13    responds as follows: Responsive information is contained in updates to "Division of

    14    Adult Institutions All Modified/Lockdown Programs by Institution" and "Division of Adult

    15    Institutions Lockdowns/Modified Programs." Those documents were previously

    16    produced in response to Plaintiff Ralph Coleman's Third Request for Production of

    17    Documents, Request no. 73. See documents Bates labeled DEFS000001-

     18    DEFS004259; DEFS005981-DEFS008152; DEFS010741·UEFS011698.

     19

     20    DATED: August 15, 2008                    HANSON BRIDGETT LLP
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           DEF. CATE'S SUPP. RESP. TO PLS: FIRST SET OF INTERROGATORIES
                                                                                                  1578116.2
           CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM
     Case 2:90-cv-00520-KJM-SCR        Document 3434-7         Filed 12/23/08    Page 13 of 14


      1
                                                 VERIFICATION
      2
                 I, MATTHEW CATE, declar~:
      3
                 I am the Secretary of the California Department of Corrections and Rehabilitation,
      4
          and in that official capacity, I am a party in the pending action entitled Plata v.
      5
          Schwarzenegger. I have read the Supplemental Responses to Plaintiff Marciano Plata's
      6
          First Set of Interrogatories to former Defendant Tilton, and state upon my information
      7
          and belief that they are true and correct.
      8
                 I declare under penalty of perjury that the foregoing is true and correct. Executed
      9
          in Sacramento, California, on August 15, 2008.
     10

     11

     12
                                              Matthew Cate
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          DEF. CATE'S SUPP. RESP. TO PLS.' FIRST SET OF INTERROGATORIES
          CASE NOS. C-01-1351 TEH; S-90-0520 LKK JFM                                             1578116.2
Case 2:90-cv-00520-KJM-SCR              Document 3434-7         Filed 12/23/08   Page 14 of 14
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                                         AUG 1 5 2008
August 15, 2008
                                   Rosen, Bien & Galvan
COUNSEL OF RECORD:

Re:       Coleman/Plata v. Schwarzenegger, et al.

Dear Counsel:

The attached Defendant Cate's Supplemental Responses to Plaintiff Plata's First Set of
Interrogatories to Former Defendant Tilton does not contain a Verification. A fully executed
Verification will follow shortly.




RPJ:hp

Enclosure




. Hanson Bridgett LLP
  425 Market Street, 26th Floor, San Francisco, CA 94105 hansonbridgett.com
                                                                                          1583926.1
